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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 WILBUR L. HOFFMAN-GARCIA, et al.,

        Plaintiffs,

                         v.                                 CIVIL NO. 14-1162 (PAD)

 METROHEALTH, INC., et al.,

        Defendants.


                                   OPINION AND ORDER

Delgado-Hernández, District Judge.

       Plaintiff Wilbur Hoffman-García essentially alleges that Metrohealth discriminated against

him because of his age and unjustly terminated his 17-year employment with the company. The

court granted Metrohealth’s motion under Rule 50(a) of the Federal Rules of Civil Procedure. This

Opinion and Order memorializes and expands upon the grounds that the court relied on to do so.

                                    I.     BACKGROUND

       Metrohealth does business as Hospital Metropolitano in Las Lomas, San Juan, Puerto Rico.

Hoffman was the Director of the Hospital’s Physical Plant Department. The Hospital closed the

Department, laying off Hoffman and other employees, including the Department’s Supervisor,

Giovanny Martínez. Approximately three months later, it rehired Martínez as Safety Officer.

Hoffman was 62 years of age and Martínez was 36. Believing the Hospital acted illegally,

Hoffman, his wife and their legal conjugal partnership sued the Hospital and others complaining

of: (1) age discrimination under the Federal Age Discrimination in the Employment Act, 29 U.S.C.

§§ 621, et seq. (“ADEA”) and Puerto Rico’s general antidiscrimination statute, Law No. 100 of

June 30, 1959, as amended, P.R. Laws Ann. tit. 29 §§ 146 et seq. (“Law 100”); (2) unjust discharge
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in connection with Puerto Rico's Unjust Discharge Act, Law No. 80 of May 30, 1976, as amended,

P.R. Laws Ann. Tit. 29 §§ 185a et seq. (“Law 80”); and (3) damages pursuant to Puerto Rico’s

general tort statute, Article 1802 of the Commonwealth’s Civil Code, P.R. Laws Ann. tit. 31

§ 5141 (Docket Nos. 1 and 29). 1

           Following discovery, the court granted in part and denied in part the Hospital’s motion for

summary judgment (Docket No. 180). 2 Basically, it concluded that the Hospital had legitimate,

non-discriminatory grounds to close the Department and lay off Hoffman, but viewing the record

in light most favorable to him, it was unclear whether the Hospital treated age neutrally in rehiring

Martínez rather than Hoffman. Id. at pp. 2, 11-14. There was a gap in the evidence concerning

Hoffman’s and Martínez’ functions before and after the layoffs; and on whether Martínez’

functions were the same functions that Hoffman had performed as Director. Id. at pp. 2, 13-14. If

the answer to the last question were in the affirmative, the Hospital would have effectively replaced

an older employee with a younger, less senior employee with no explanation for its decision. 3

Accordingly, it denied summary judgment with respect to the Hospital’s decision to rehire

Martínez instead of Hoffman. Given the allegations on which the tort action was predicated,

however, it granted summary judgment dismissing Hoffman’s claim under Article 1802 of the

Civil Code. Id. at pp. 15-16. 4


1   Only Hoffman and the Hospital remain in the case.
2   The decision may be found as Hoffman-García v. Metrohealth, Inc., 2016 WL 4146098 (D.P.R. Aug. 3, 2016).
3   Hoffman started working for the Hospital in 1995; Martínez in 2010.
4 Hoffman sought payment for physical pain and suffering under Article 1802 on account of allegedly intentional discrimination

against him (Docket No. 29 at ¶ 51). It is settled that to the extent a specific labor or employment statute covers the conduct for
which a plaintiff seeks damages, he is barred from relying on the same conduct to support a claim for damages under Article 1802.
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         Trial was held on April 10, 11, 12 and 13, 2017 (Docket Nos. 240, 242-244). Hoffman

testified on his own behalf, and presented the testimony of his wife, Zoraida Rodríguez-Díaz, and

of the Hospital’s Human Resources Director, Ricardo Pizarro, in addition to excerpts from

Martínez’ redacted deposition (Docket Nos. 240, 242, 243, 244). The Hospital presented the

testimony of José Rosado, the Hospital’s Executive Director and decision maker at the time of the

events (Docket No. 244). At the end of Hoffman’s case, the Hospital moved for dismissal under

Rule 50(a) of the Federal Rules of Civil Procedure (Docket No. 244). The motion was denied and

renewed at the close of all evidence (Docket Nos. 244 and 245). After hearing arguments, the

court granted the motion (Docket No. 245). It found the Hospital acted in compliance with Law

80 and that no reasonable jury could conclude from the evidence that Hoffman was discriminated

against because of his age (Transcript of Jury Trial held on April 13, 2017, p. 32).

                                         II.       STANDARD OF REVIEW

         Pursuant to Rule 50(a) of the Federal Rules of Civil Procedure, if a party has been fully

heard on an issue during a jury trial and a reasonable jury would not have a legally sufficient

evidentiary basis to find for the party on that issue, an opposing party may file a motion for

judgment as a matter of law at any time before the case is submitted to the jury. Fed. R. Civ. P.

50(a). In examining a Rule 50(a) motion, the court must view the evidence and draw all fair

inferences in the light most favorable to the non-movant. See, Mangla v. Brown University, 135

F.3d 80 (1st Cir. 1998)(citing Rolón-Alvarado v. Municipality of San Juan, 1 F.3d 74, 76 (1st Cir.




See, Santana-Colón v. Houghton Mifflin, 81 F.Supp.3d 129, 140-141 (D.P.R. 2014)( (so recognizing). Because Hoffman asked
for redress under Article 1802 as to conduct covered by ADEA and Law 100, the Article 1802 claim was dismissed.
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1993)). It may not consider the credibility of witnesses, resolve conflicts in testimony, or evaluate

the weight of the evidence. See, Katz v. City Metal Co., Inc., 87 F.3d 26, 28 (1st Cir. 1996)(quoting

Richmond Steel, Inc. v. Puerto Rican American Ins. Co., 954 F.2d 19, 22 (1st Cir. 1992)). If from

the evidence presented at trial, fair minded persons could draw different inferences, then the matter

is for the jury to resolve and judgment as a matter of law is not appropriate. See, González-Pérez

v. Toledo-Dávila, 709 F.Supp.2d 125, 127-128 (D.P.R. 2010)(citing Espada v. Lugo, 312 F.3d 1,

2 (1st Cir. 2002)). But to warrant submission to the jury, the non-movant must present more than

a mere scintilla of evidence. He may not rely on conjecture or speculation. Id.

                                           III.    FACTUAL FINDINGS 5

         Hoffman attacks the Hospital’s decisions to let him go when it closed the Physical Plant

Department and to rehire Martínez instead of him as Safety Officer. Even though the events are

related, they are different and will be analyzed as such.

      A. Hoffman’s Pre-Closing Position

         Hoffman was the Director of the Hospital’s Physical Plant Department (Transcript of Jury

Trial held on April 11, 2017, p. 45; Transcript of Trial held on April 12, 2017, pp. 23, 100). He

was in charge of the Department and responsible for directing all work therein (Transcript of Jury

Trial held on April 12, 2017, pp. 102, 107-108). As Director, he managed the Department’s

budget; made personnel and contractor recommendations; and carried out disciplinary actions if

necessary. Id. at pp. 102-103, 107. His job description (Appendix A) lists thirty-four duties and




5The court incorporates by reference the findings of fact entered in connection with the summary judgment ruling in Docket No.
180 at pp. 3-8, corresponding to 2016 WL 4146098 at *2-*4.
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responsibilities. He earned $7,432 per month (Transcript of Jury Trial held on April 11, 2017, p.

23).

         Hoffman was a member of the Hospital Executive Cabinet (Transcript of Jury Trial held

on April 12, 2017, pp. 100, 102-103). The Cabinet met every Wednesday and was composed of

the Hospital’s Executive Director and the directors of the Hospital’s Departments, who were the

highest-ranking officials in Hospital Metropolitano. Id. at pp. 99-100. It discussed operational

matters, goals, policy, initiatives to attract new patients, new services, and departmental concerns.

Id. at p. 99. In addition, Hoffman would meet with the Hospital’s Executive Director two or three

times weekly to discuss matters related to the Physical Plant Department and its projects. Id. at

pp. 101-102.

     B. Martínez’ Pre-Closing Position

          Martínez was the Physical Plant Department’s Supervisor. Id. at p. 101. He reported to

Hoffman, who in turn supervised him. Id. As such, he was Hoffman’s second-in-command. Id.

at p. 137. Under Hoffman’s direction, he was in charge of “working the field.” Id. at p. 105. Once

Hoffman determined the different tasks that had to be performed, Martínez would assign and

distribute the staff, and go to the work area to verify that work was done in compliance with

Hoffman’s instructions. Id. He made lists of materials and met with Hoffman to “see to it” that

the Hospital’s facilities were in optimal condition. Id. at pp. 16-17. He was not a member of the

Executive Cabinet and did not attend cabinet meetings. Id. at pp. 106, 118.

          Although Hoffman delegated matters to Martínez or worked with him with respect to

various department issues, Martínez was never bestowed with full authority over the Physical Plant
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Department. He could not approve the Department’s budget, retain independent contractors, or

prepare departmental staffing patterns without consulting with Hoffman (Transcript of Jury Trial

held April 11, 2017, p. 46). In Hoffman’s absence, he carried out some of Hoffman’s duties, not

all. When Martínez worked by himself during alternate weekends at the Hospital, if anything

beyond repairing or fixing utilities was necessary, he had the obligation to contact Hoffman and

consult with him. Id. at p. 47. Hoffman, however, would not consult with Martínez decisions to

use personnel to fix equipment (Transcript of Jury Trial held on April 11, 2017, p. 6).

      C. Department’s Closing

         On September 30, 2012, the Hospital closed the Physical Plant Department to cure

promptly all deficiencies that the Center for Medicare and Medicaid Services (“CMS”) had found

in the Hospital’s facilities, and to ensure future compliance with the standards of CMS and the

Joint Commission on accreditation of health care organizations and programs to avoid adverse

financial consequences (Transcript of Jury Trial held on April 12, 2017, p. 108; Docket No. 180

at p. 11). 6 With that in mind, it retained Facilities Service Maintenance and Management (“FSM”),

a contractor, to do the work of the Physical Plant Department (Transcript of Jury Trial held on

April 12, 2017, pp. 109, 135-136, 155). In turn, FSM hired Martínez to work on the transition of

the Hospital’s physical plant to FSM, on which he worked for about three months. Id. at pp. 109,

128-129. The Hospital created a Safety Officer position in January 2013 and hired Martínez for



6 CMS oversees hospitals’ compliance with the Medicare health and safety standards, and makes available to beneficiaries,
providers/suppliers, researchers and state surveyors information about these activities (Docket No. 180, p. 5). CMS certification
is necessary for a hospital to be authorized to provide medical services to Medicare and Medicare Advantage beneficiaries. Id.
Because forty to fifty percent of the Hospital’s patients are Medicare and Medicare Advantage beneficiaries, lack of certification
would impact the Hospital’s finances. Id. The Joint Commission is an independent, not-for-profit organization that accredits and
certifies health care organizations and programs in the United States and Puerto Rico. Id. at p. 4.
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the position the same month. Id. at pp. 109-110, 126. The position did not exist while the Physical

Plant Department was operational. Id. at pp. 110-111.

         D. Safety Officer Position

         Martínez’s duties and responsibilities as Safety Officer are contained in his Job Description

(Appendix B). The Hospital’s Executive Director explained during trial that as Safety Officer,

Martínez only performed 3 of the 34 duties listed in Hoffman’s Job Description, to wit: duty

number 8 in the Direction and Planning section in page 1, as well as duties number 1 and 2 in the

Safety section in page 3 (Transcript of Jury Trial held on April 12, 2017, pp. 118-119). Martínez

testified by way of deposition, 7 that he verified all inspections to “see to it” that they were up-to-

date; worked on fire drills; conducted safety talks; and was engaged in “things related to security”

as to complaints and hospital officers, in addition to several other duties that he did not mention

(Transcript of Jury Trial held on April 12, 2017, p. 19). He stated that Hoffman carried out the

functions that he mentioned while the Physical Plant Department was still open. Id. He did not,

however, assert to have had any responsibility over physical plant repairs. Id. at pp. 115-116, 159.

Nor did he have oversight or supervisory duties related to FSM. Id. at pp. 115-117. Those were

the Executive Director’s duties. Id.

         As Safety Officer, Martínez supervised three employees who worked at the Hospital’s

switchboard, and the contractors that provided security-guard and parking services to the Hospital.




7 The testimony was admissible under Rule 32(a)(4) of the Federal Rules of Civil Procedure, which permits use of a witness’

deposition during the trial if the witness is unavailable as specified in the rule.
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Id. at p. 156. 8 Hoffman never supervised the contractor that provided security guards; the

contractor providing parking services; or the switchboard employees. Id. at p. 159. Martínez

earned $2,183 per month. Id. at pp. 48-49. The Hospital discharged him in April 2013 for failing

the probationary period. Id. at pp. 129-130.

                                                   IV.      DISCUSSION

      A. ADEA

          Under the ADEA, an employer may not “discharge ... or otherwise discriminate against

any individual with respect to [his] compensation, terms, conditions, or privileges of employment,

because of [his] age.” 29 U.S.C. § 623(a)(1). A plaintiff asserting a claim under the ADEA has

the burden of establishing “that age was the ‘but-for’ cause of the employer’s adverse action.”

See, Acevedo-Parrilla v. Novartis Ex-Lax, Inc., 696 F.3d 128, 138 (1st Cir. 2012)(quoting Gross

v. FBL Financial Services, Inc., 557 U.S. 167, 177 (2009)). Differently stated, the plaintiff’s age

must have been the determinative factor as opposed to merely a determinative factor in the

employer’s decision. Gross, 557 U.S. at 168.

          Where, as here, there is no direct evidence of discrimination, courts evaluate ADEA claims

under the burden-shifting framework drawn from McDonnell Douglas v. Green, 411 U.S. 792




8 Hoffman argues that the broad language in duty number 29 at page 3 of the Safety Officer’s Job Description is indicative that
Martínez could supervise contractors other than those providing parking services and security guards. This duty reads: “To
supervise the compliance of the companies contracted.” But read together with all other duties in the document, Martínez’s
deposition, and the Executive Director’s testimony, no reasonable jury could agree with Hoffman’s argument. The job description
lists the Safety Officer’s responsibilities related to parking area and security guard contractors at numbers 30, 31, 32, 34, 36 and
50. Moreover, Martínez did not testify that he supervised any other contractors, and said nothing about having any authority over
FSM. The Executive Director so confirmed without contradiction (Docket No. 254, Transcript of Jury Trial held on April 12, 2017,
pp. 151, 155-156). In consequence, it is not reasonable to infer from the evidence that Martínez oversaw every single contractor –
even contractors providing radiology services or emergency room physician services- simply because of the general language of
duty number 29.
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(1973). Under this framework, plaintiff must make out a prima facie case of discrimination.

Sánchez v. Puerto Rico Oil Company. 37 F.3d 712, 719 (1st Cir. 1994). If a prima facie case is

established, an inference of discrimination arises, switching to the employer the burden of

articulating a legitimate, nondiscriminatory reason for the challenged action. Id. Should the

employer do so, the inference arising from the plaintiff’s prima facie case drops from the case. Id.

In order to prevail, the plaintiff must show that the employer’s articulated reason was a pretext to

mask unlawful discrimination. Id.

          There are different formulations of the prima facie case. See, Mc Donnell Douglas Corp.,

411 U.S. at 802 n.13 (noting that the specification of the prima facie proof required from plaintiffs

is not necessarily applicable in every respect to differing factual situations); Barbara T.

Lindermann, Paul Grossman, & C. Geoffrey Weirich, Employment Discrimination Law, 12-67

(5th Ed. 2012)(discussing formulations of prima facie case); and Lindemann & Kadue, Age

Discrimination in Employment Law, 363-364 (2003)(same). Hoffman was dismissed as part of a

reduction in force. 9 As such, he must show that: (1) he fell within the ADEA’s protected age

group, that is, more than forty years of age: (2) he met the employer’s legitimate performance

expectations; (3) he experienced an adverse employment action; and (4) the employer did not treat

age neutrally or retained younger persons in the same position. See, Pages-Cahue v. Iberia Líneas




9In a reduction in force, “business considerations cause an employer to eliminate one or more positions within the company.”
Barnes v. GenCorp., 896 F.2d 1457, 1465 (6th Cir. 1990).
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Aéreas de España, 82 F.3d 533, 536 (1st Cir. 1996)(identifying elements for a prima facie showing

in a reduction-in-force case). 10

          Beyond a termination resulting from reductions in force, a plaintiff may also challenge as

discriminatory a post-layoff failure to rehire. See, Fernandes v. Costa Bros. Masonry, Inc., 199

F.3d 572, 584 (1st Cir. 1999)(distinguishing between reduction-in-force case and failure-to-rehire

case); Martin v. Manna Pro Corp., 20 Fed.Appx. 231, 233 & n.* (4th Cir. Oct. 16,

2001)(unpublished) (differentiating discriminatory layoff from failure to recall or rehire as

different adverse employment actions)(citing Lawson v. Burlington Industries, Inc., 683 F.2d 862,

863-864 (4th Cir. 1982)). In general, to establish a prima facie case of failure to rehire, a plaintiff

must show that: (1) he belongs to a protected class; (2) he was qualified and applied for a job for

which the employer was seeking applicants; (3) he was rejected; and (4) after his rejection the

position remained open and the employer continued to seek applicants from persons of

complainant’s qualifications. See, Fernandes, 199 F.3d at 584-585 (identifying elements of prima

face case in this context).

          Pretext analysis is more demanding than the assessment of whether a prima facie case has

been established, moving the inquiry to a new level of specificity. See, Kosereis v. Rhode Island,

331 F.3d 207, 213 (1st Cir. 2003)(describing analysis). The employee must elucidate specific facts

which would enable a reasonable jury to find that the reason given for the employer’s action is a

lie intended to cover up the employer’s real motive: plaintiff’s age.                                      See, Meléndez v.


10If the plaintiff was not dismissed as part of a reduction in force, with respect to the fourth element it is enough for him to show
that the employer sought a replacement for him, demonstrating a continuing need for plaintiff’s services. See, Vélez v. Thermo
King de Puerto Rico, Inc., 585 F.3d 441, 447 (1st Cir. 2009)(setting forth elements of prima facie case in case not involving
reduction in force).
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Autogermana, Inc., 622 F.3d 46, 52 (1st Cir. 2010)(discussing pretext).                                     To this end, the

employee’s burden merges with the ultimate burden of persuading the fact finder that he has been

the victim of intentional discrimination. See, Feliciano de la Cruz v. El Conquistador Resort and

Country Club, 218 F.3d 1, 6 (1st Cir. 2000)(so noting).

          B. Law 100/Law 80

          Law 100 provides a cause of action in favor of persons who suffer discrimination in their

employment because of their age. See, P.R. Laws Ann. tit. 29 § 146 (prohibiting discrimination

in protected categories including age, and laying out remedies for violation). In the absence of

direct evidence of discrimination, a plaintiff may rely on circumstantial evidence through the “just

cause” framework set in Article 3 of the statute. 11 At its core, the framework consists of three

stages: (1) a prima facie case; (2) burden shifting; and (3) ultimate demonstration of

discrimination. See, Caraballo-Cecilio v. Marina PDR Tallyman LLC, 2016 WL 6068117, *2

(D.P.R. Oct. 13, 2016)(describing framework).

          A plaintiff establishes a prima facie case by demonstrating that: (1) he suffered an adverse

employment action; (2) the adverse action lacked just cause; and (3) there exists some basic fact

substantiating the type of discrimination alleged. See, Rodríguez v. Executive Airlines, Inc., et

al., 180 Fed. Supp. 3d 129, 132-133 (D.P.R. 2016)(setting forth elements of prima facie case under

Law 100); Varela Teron v. Banco Santander de Puerto Rico, 257 F.Supp.2d 454, 466




11Article 3 provides that the acts mentioned in Articles 1 and 2 (i.e. discharge, layoff, and failure to hire), shall be presumed to
have been committed in violation of Law No. 100 “whenever the same shall have been performed without just cause.” P.R. Laws
Ann. tit. 29 §§ 146, 148. The presumption is of a “controvertible character.” Id. at Section 148.
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(D.P.R.2003)(same). 12 In Puerto Rico, the term “just cause” is construed by reference to Law 80.

See, Rodríguez, 180 F.Supp.3d at 133 (so recognizing).

          Law 80 requires the employer to pay a statutory indemnity to employees hired for

undefined term who are dismissed without just cause. See, Article 1 of Law 80, supra at § 185a

(stating payment requirement). Article 2 includes as examples of just cause, full, temporary or

partial closings of establishments; reorganizations; and actual or anticipated reduction in

production, sales or profit. Id. at §§ 185b(d), (e), (f). 13 Article 3, however, provides that if an

employer terminates employees for one of those three reasons, it must give preference to those

employees within the same occupational classification who have greater company-wide seniority,

that is, seniority with the employer counted from the last time that the employee began to work for

the employer in a continuous and uninterrupted manner. Id. at § 185c. In this way, it modifies the

just cause calculus by requiring compliance with preferential retention/recall rules. Those rules

must be followed to avoid an unjust discharge finding even though the reason for the workforce

reduction is otherwise considered just cause. See, Rodríguez, 180 F.Supp.3d at 132 (pointing out

consequence of not complying with Law 80’s preferential treatment rules).




12 See also, Rodríguez-Torres v. Caribbean Forms Manufacturer, Inc., 399 F.3d 52, 62 (1st Cir. 2005)(validating jury instruction
to the effect that, for burden of proof in a Law No. 100 claim to shift to employer, plaintiff must prove that: she was in a protected
class, was fired, and the termination was unjustified); Menzel v. Western Auto Supply Company, 848 F.2d 327, 331 (1st Cir.
1988)(pointing out that “[i]f plaintiff fails to show that there was no just cause, the presumption of discrimination is not activated”).
13These are considered just-cause grounds for termination related to the employer’s operations, restructuring or downsizing. See,
García-García v. Costco, 878 F.3d 411, n.12 (1st Cir. 2017)(referring to grounds for termination set in P.R. Laws Ann. tit. 29 §
185b(d)-(f))(quoting Carrasquillo-Ortiz v. American Airlines, Inc., 812 F.3d 195, 196 (1st Cir. 2016)). The statute also provides
three other examples of just-cause grounds for termination attributable to the employee. See, P.R. Laws Ann. tit. 29 § 185b(a)-(c).
Those other grounds, however, are not relevant to this action.
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          In that regard, if the employer terminates a more senior employee and retains a less senior

employee within the same occupational classification in a reduction in force, the employer has

acted without just cause unless there is a clear and conclusive difference in favor of the capacity

or efficiency of the less senior employee retained, in which case the higher capacity/efficiency

prevails. See, P.R. Laws Ann. tit. 29 § 185c.14 Similarly, preference must be given to the

employees discharged in the event that within six months following the dismissal, the employer

hires a person in the same occupational classification. Reinstatement within the classification must

follow seniority, subject to the capacity/efficiency exception pointed to above. Id. Failure to so

reinstate is considered a termination without just cause. Accordingly, in a downsizing just cause

is measured by the criteria set in Article 2 together with compliance with the preferential treatment

provisions of Article 3. See, Echevarría v. AstraZeneca Pharmaceutical LP, 856 F.3d 119, 141 &

n.25 (1st Cir. 2017)(noting the preferential treatment obligation that Law 80 imposes on the

employer when it terminates an employee for one of the three specified grounds relating to

restructuring and downsizing); Rodríguez, 180 F.Supp.3d at 132 (discussing Law 80’s preferential

retention/recall rules). 15

          Like under the ADEA, a prima facie showing activates a presumption of discrimination

under Law 100. See, Ramos v. Davis & Geck, Inc., 167 F.3d 727 (1st Cir. 1999)(pointing out

effect of presumption); Varela-Teron, 257 F.Supp.2d at 464 (same). The employer may rebut the



14 Article 4.5 of the Puerto Rico Transformation and Flexibility Act, Law No. 4 of January 26, 2017, amended this provision to
include additional exceptions to the use of seniority as a selection method for lay offs in reductions in force. Nonetheless, the court
refers to the language of the statute in effect when the relevant facts occurred.
15 For a detailed and comprehensive discussion of this topic, see J.L. Capó-Matos, in M.J. Caterine (ed.), Employment at Will: A
State-by-State Survey-Puerto Rico Chapter (2011), pp. 937-940; 959-969, and 2014 Supplement, pp. 40-17 - 40-22.
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presumption proving legitimate, non-discriminatory grounds for the challenged action. See, De

Arteaga v. Pall Ultrafine Filtration Corporation, 862 F.2d 940, 941 (1st Cir. 1988)(once activated,

the presumption requires employer to prove that the action in question was not discriminatory);

Ramos-Santiago v. WHM Carib LLC, 2017 WL 1025784, *6 (D.P.R. March 14, 2017)(citing

López Fantauzzi v. 100% Natural, 181 D.P.R. 92, 123 (2011)(explaining, among other things, how

employer may rebut the presumption)). Should the employer carry this burden, the presumption

of discrimination disappears. At that point, the burden of persuasion shifts back to the employee

to show, without the benefit of the presumption, that the action was motivated by prohibited

discrimination. Ramos-Santiago, 2017 WL 1025784, *6. The Law 100 analysis does not end even

if plaintiff fails to trigger the presumption, for the employee bears the burden of proof on the

ultimate issue of discrimination. See, García-García, 878 F.3d at 423 & n.22 (so stating).

     A. Application of Law to Facts

          i.        ADEA

          As pointed out above, summary judgment was denied because due to an evidentiary gap in

connection with the functions of Hoffman’s and Martínez’ respective positions, the record as

presented was unclear on whether the Hospital had treated age neutrally. See, Opinion and Order

at Docket No. 180, pp. 2, 13-14. Based on the evidence presented at trial, however, it is apparent

that the Hospital treated age neutrally. It did not retain or rehire Martínez or any other employee,

much less a younger employee for Hoffman’s position. Besides, Hoffman did not apply to a vacant

position, the position Martínez was rehired for as Safety Officer. He failed to establish a prima
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facie case of age discrimination or show age animus. 16 Following is the basis for the court’s

conclusion in connection with both the reduction-in-force and the failure-to-rehire aspects of the

litigation.

     a. Reduction in Force

          Hoffman belongs to the protected class, met the employer’s legitimate expectations, and

was laid off. The First Circuit has found that the legitimate expectation element is satisfied when

plaintiff demonstrates a long history of experience in the employment with defendant. See,

Acevedo-Parrilla, 696 F.3d at 139 (plaintiff, who had a long history of employment at the

company, spanning an eleven-year period, with overall positive reviews, was qualified for the

position); Woodman v. Haemonetics Corp., 51 F.3d 1087, 1092 (1st Cir. 1995)(citing Woods v.

Friction Materials, Inc., 30 F.3d 255, 261 (1st Cir. 1994)). This is true even in the absence of

evidence of adequate job performance extending up to the date of discharge. See, Smith v. Stratus

Computer, Inc., 40 F.3d 11, 15 n.4 (1st Cir.1994)(citing Keisling v. SER-Jobs for Progress, Inc.,

et al., 19 F.3d 755, 760 (1st Cir.1994)). In this case, Hoffman worked as Hospital Metropolitano’s

Physical Plant Department Director for some 17 years, from 1995 until September 30, 2012.

          Similarly, the employer’s decision to lay off an employee may constitute an adverse

employment action even if a layoff is not technically the same as a termination or discharge. See,

Diebel v. L & H Resources, 2010 WL 11519578, *7 (E. D. Mich. Feb. 17, 2010)(so recognizing).

But the fourth prong is measured from the position that Hoffman had occupied and was let go, by




16 During the initial Rule 50(a) arguments, the court commented that a prima facie case had been made under the ADEA (Transcript

of Jury Trial held on April 12, 2017, p. 89). Examining the evidence anew a different conclusion is called for.
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reference to Martinez, whom Hoffman claims received a more favorable treatment than he. Yet

Hoffman’s and Martínez’ positions were different. Within the Physical Plant Department, the

positions carried different titles, levels of authority and functions. Hoffman was the Director and

Martínez the Supervisor, serving as Hoffman’s second-in-command. They were not co-directors

(Transcript of Jury Trial held on April 11, 2017, pp. 45-46).

         When Hoffman delegated tasks to Martínez and asked Martínez to accompany him to

certain meetings, he always retained the ultimate authority in the Department. He had the authority

to prepare and approve the Department’s budget, determine the Department’s staffing patterns and

retain independent contractors, but Martínez could not do so. He was a member of the Hospital’s

Executive Cabinet, whereas Martínez was not. The fact that Martínez performed some duties

jointly with Hoffman or duties that Hoffman delegated to him did not make the positions of

Director and Supervisor one and the same. He testified that although he and Martínez worked on

alternate weekends and Martínez could fix physical plant problems during that time. For anything

else, however, he had to contact Hoffman before acting. Additionally, both Hoffman and Martínez

were laid off when the Physical Plant Department closed, and the Safety Officer position for which

Martínez was rehired was different from the Physical Plant Department Director position that

Hoffman occupied when he was onboard.

         Hoffman argues that his and Martínez’ new position were similar because as Director of

the Physical Plant Department he performed all of the safety duties that Martínez had as Safety

Officer, and those duties are so intertwined with the physical plant of the Hospital that it is

impossible to separate them (Transcript of Jury Trial held on April 12, 2017, p. 87; Transcript of
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Jury Trial held on April 13, 2017, p. 24). Nevertheless, the question is not whether Hoffman as

Director performed some duties later performed by Martínez as Safety Officer but rather, whether

Martínez as Safety Officer performed the same or substantially the same duties as Hoffman when

he was the Director of the Physical Plant Department.

         A discharged employee is not replaced when the employer assigns another employee to

perform his duties in addition to other duties. See, LeBlanc v. Great American Insurance

Company, 6 F.3d 836, 846 (1st Cir. 1993)(so holding). Instead, a person is replaced only when

another employee is hired or reassigned to perform the plaintiff’s duties. Id. In this way, to

reasonably infer that Hoffman was replaced by Martínez to the point of having been effectively

retained while Hoffman was not, the record would have to show that Hoffman’s duties, “and no

others,” were allocated to Martínez. See, Pages-Cahue, 82 F.3d at 539, 542 (articulating test).

However, that is not what the record shows.

         There is no evidence that as Safety Officer, Martínez performed any duties related to the

physical plant aspect of Hoffman’s job. In fact, he performed about ten percent of the duties

Hoffman performed as Director of the Physical Plant Department (three out of thirty-four duties).

Even more, Hoffman admitted that the safety duties he performed as Director of the Physical Plant

Department could be performed by an individual independently from the Physical Plant

Department (Transcript of Trial held on April 11, 2017, pp. 52-53). In that regard, Martínez did

not replace Hoffman occupying the same position Hoffman had with a different title. See, Pages-

Cahue, 82 F.3d at 539, 542 (“to reasonably infer that Pages was replaced by a younger employee,

we would have to conclude that Pages’ duties, and no others, were allocated to Alós…”); Santiago-
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Hernández v. Puerto Rico Danka, Inc., 363 F.Supp.2d 66, 73 (D.P.R. 2005)(summary judgment

dismissing age discrimination action of plaintiff terminated when her position was eliminated as

part of a reduction in force; there was no evidence that in implementing the downsizing younger

individuals were retained occupying plaintiff’s position; she was not substituted by another

employee in a different position who absorbed plaintiff’s duties in addition to other tasks).

            Hoffman posits that a jury issue exists because Martínez and the persons who replaced

Martínez as Safety Officer were in their thirties or younger than Hoffman, and that the majority of

the employees laid off from the Physical Plant Department were over age 50 (Transcript of Jury

Trial held on April 12, 2017, pp. 131-132; Transcript of Jury Trial held on April 13, 2017, pp. 25-

26). Difference in age is inconsequential where, as here, the employees are not similarly situated.

See, Sahadi v. Reynolds Chemical, 636 F.2d 1116, 1117-111 (6th Cir. 1980)(directing verdict to

dismiss age discrimination claim of plaintiff whose job was eliminated; that his former duties were

assumed by a younger employee who performed them in addition to other duties was insufficient

to show discrimination).                Furthermore, the closing of the Physical Plant Department was

legitimate, predicated on non-discriminatory grounds, 17 and the Hospital did not hire personnel to

fill the positions of the employees who were laid off when the Department closed.

            On this record, it cannot reasonably be said that the Hospital failed to treat age neutrally or

that younger persons were retained in Hoffman’s position when it laid off Hoffman during the

reduction in force. The fourth prong is missing. Failure to establish a prima face case of

discrimination justifies dismissal as a matter of law. See, Del Valle-Santana v. Servicios Legales


17   For the complete factual background, see, Docket No. 180 at pp. 3-8.
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de Puerto Rico, Inc., 804 F.3d 127, 131-132 (1st Cir. 2015)(dismissing ADEA claim of plaintiff

discharged during downsizing for failure to establish prima face case of age discrimination).

     b. Failure to Rehire

          Again, Hoffman belonged to the protected class, and the court assumes that he was qualified

to occupy the Safety Officer position. But he never applied for that position. In absence of the

job application, there was no adverse employment action sufficient to sustain a prima facie case

in this context.           See, Vélez v. Janssen Ortho, LLC, 467 F.3d 802, 807-808 (1st Cir.

2006)(examining similar requirement in retaliation action and concluding that no adverse action

occurred because plaintiff never applied for the position). 18 An employer is not “obligued to

defend its decision not to hire an individual for a position for which […]he has not specifically

applied.” Id. at 808. 19 So, dismissal is appropriate. See, Brown, 159 F.3d at 902 (judgment as a


18 In Vélez, plaintiff was laid off in December 1998. Id. at 804. In February 1999, she sent a letter to the employer requesting to
be considered for a new Manufacturing Supervisor position. Id. In May 1999, she sent a letter applying for a Senior Packaging
Engineer position. Id. In August 2001, she sent a letter via certified mail requesting consideration for employment in any position
available in a variety of job categories. Two weeks later, she sent an identical letter, this time via facsimile. Id. In response to the
August letters, the company’s director of human resources stated that plaintiff would not be considered for an interview or rehiring.
Id. at 804-805. The letter mentioned plaintiff’s prior layoff and severance as well as the company’s business needs as an
explanation. Id. at 805. About three days after the rejection letter, the employer placed advertisement for two Manufacturer Process
Facilitator positions. Id. The First Circuit concluded that a plaintiff claiming failure to hire must have submitted an application
for the position in question rather than merely stated general expressions of interest in employment, and plaintiff had not specifically
applied to that position. Id. at 808. A letter that “merely expresses interest in a wide range of positions … is not the application
for a discrete, identifiable position required under [the statute]”. Id. at 809. Cf. Fernandes, 199 F.3d at 584 (prima facie showing
in part because plaintiffs returned to the job site at various times after the layoff and sought reinstatement as masons, were for the
most part rebuffed and the employer had an ongoing need for masons, hiring and recalling many throughout the relevant period).
19 To be sure, some courts have observed that “there are certain situations where less than a formal application is adequate.”
Wanger v. G.A. Gray Co., 872 F.2d 142, 146 (6th Cir. 1989). Those include instances of so-called “futility; where the employer
had a policy of hiring without publicizing the position and accepting applications; and where the employer had a policy of seeking
out employees that had been laid off and calling them to work. See, Martin, 20 Fed. Appx. at 233-234 (discussing exceptions to
application requirement); Wanger, 872 F.2d at 147 (same). As for futility, it has been noted that the plaintiff must show that he did
not apply because he had a reason to believe that, had he applied, he would have been rejected. See, Martin, 20 Fed.Appx. at 233-
234 (so noting). Regarding policies of hiring without announcing and accepting applications, it has been held that the plaintiff
must have shown more than a mere general interest in the position. See, Wanger, 872 F.2d at 146 (discussing topic). Hoffman did
not, however, attempt to show that the Hospital’s hiring or rehiring policies and practices fit any of these scenarios. The gap is
fatal here. See, Brown v. McLean, 159 F.3d 898, 904 (4th Cir. 1998)(dismissing discrimination case because plaintiff failed to
apply for the position or to show that his failure to apply was based on his knowledge that to do so would have been futile); Martin,
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matter of law dismissing discriminatory failure to reemploy claim due to plaintiff’s failure to

establish prima facie case); Vélez, 467 F.3d at 808 (summary judgment under similar

circumstances).

     c. Final Analysis

          Setting aside for the moment the evidentiary shortcomings related to the prima facie

aspects of the dispute, at bottom, the problem in this case derives from the fact that the Hospital

rehired Martínez some three months after the Physical Plant Department’s closing. Both he and

Hoffman were laid off, but Martínez was rehired, albeit in a different position than the ones

Hoffman and he occupied before the closing. And the rehiring led Hoffman to perceive a

difference in treatment that he has attributed to his age. In the final analysis, however, the record

shows no age animus.

          Focusing on the Safety Officer position for which Martínez instead of Hoffman was hired,

the Hospital’s Executive Director testified without contradiction that he contemplated creating the

position in December 2012, approximately two months after the closing of the Physical Plant

Department, created it in January 2013, and hired Martínez for the position that same month

(Transcript of Jury Trial held on April 12, 2017, pp. 109-110). He pointed out that Martínez was

no longer with FSM; knew the Hospital’s operations; and had worked on safety matters when he

was a hospital employee. Id. at p. 110. He explained that he did not consider hiring Hoffman

because the position was not a director position such as the one that Hoffman occupied when he


20 Fed.Appx. at 233-234 (dismissing age discrimination claim of plaintiff how failed to apply for the position at issue and did not
allege that he had any reason to believe that, had he applied, he would have been rejected). Cf. United States v. Gregory, 871 F.2d
1239, 1241-1242 (4th Cir. 1989)(excusing female plaintiff’s failure to formally apply for deputy position because employer had
explicitly stated he did not hire women deputies).
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worked in the Hospital; the position lacked the decision-making authority that directors had, with

a third of the pay that Hoffman had received as director; and the Executive Director was under the

impression that Hoffman was not interested in working for or providing services at the Hospital.

Id. at pp. 120, 124-126.

         The Executive Director’s impression was based on conversations with FSM, to the effect

that FSM had tried to contact Hoffman for the transition period but was not able to do so because

– as FSM indicated to the Executive Director – Hoffman never responded to FSM’s calls. Id. at

pp. 120, 124-125, 128. 20 This is supported by Hoffman’s trial testimony, that he would not have

worked for FSM even if FSM had offered him a position in the company or a consulting

opportunity (Transcript of Jury Trial held on April 11, 2017, pp. 60, 66). 21

         No evidence was submitted to contradict the Executive Director’s explanation.

Discriminatory animus cannot be reasonably inferred from the hiring of a younger employee for a



20 Hoffman objected to what FSM stated on hearsay grounds (Trial Transcript April 12, 2017, p. 120). Hearsay is an out-of-court
statement used to prove the truth of the matter asserted. See, Gutiérrez-Rodríguez v. Cartagena, 882 F.2d 553, 575 (1st Cir.
1989)(quoting Fed. R. Evid. 801(c)(defining hearsay)). A witness’ statement is not hearsay if the witness is reporting what he
heard someone else tell him for the purpose of explaining what the witness was thinking at the time or what motivated him to do
something. See, United States v. Leonard-Allen, 739 F.3d 948, 954 (7th Cir. 2013)(so recognizing). Thus, an out of court statement
that is offered to show its effect on the hearer’s state of mind is not hearsay. See, United States v. Hanson, 994 F.2d 403, 406 (7th
Cir. 1993)(so acknowledging). The reference to FSM was not considered for its truth, but to show its effect on the decision maker’s
state of mind. See, Transcript of Jury Trial held on April 12, 2017, pp. 120-121. So it was not inadmissible hearsay. See, Vázquez-
Valentín v. Santiago-Díaz, 459 F.3d 144, 150-151 (1st Cir. 2006)(documents describing personnel irregularities not hearsay
because they were offered as an explanation for defendants’ actions rather than for the truth of the personnel irregularities described
in the documents); Moore v. Sears, Roebuck and Company, 683 F.2d 1321, 1322-1323 (11th Cir. 1982)(memoranda prepared by
plaintiff’s supervisors over a period of months containing observations pertaining to plaintiff’s performance not hearsay, as they
were tendered to establish that employer was motivated in good faith to discharge plaintiff for reasons other than age instead of to
prove the truth of the document’ content); Collins v. James River, 1994 WL 921999, *7 (D.Mass. March 17, 1994)(negative
comments made to plaintiff’s supervisor when he first became Vice President regarding plaintiff’s performance not hearsay, for
the statements were offered to show his state of mind in evaluating plaintiff’s performance, not to prove that the comments were
true).
21 Even if FSM had hired Martínez to perform Hoffman’s job during the transition period, Hoffman would not be entitled to prevail.
See, Snyder v. Pierre’s French Ice Cream Co., 589 Fed. Appx. 767, 768-769, 771 (6th Cir. 2014)(unpublished)(observing that an
allegation that the employer assigned the former employee’s work to an independent contractor that decided to employ younger
persons to do the plaintiff’s work is, without more, insufficient to establish a prima facie case of age discrimination).
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position inferior to plaintiff’s previous job. See, Pages-Cahue, 82 F.3d at 538-539 (so holding).

The employer does not have the obligation to offer lower echelon, poorer paying jobs in the

restructured enterprise to older employees. See, Varela-Teron, 257 F.Supp.2d at 461 (so noting).

In the same way, the employer’s perception that plaintiff was not interested in work has been

recognized as a legitimate, non-discriminatory ground for not rehiring him. See, Pulitzer v. New

Hartford Teachers’ Ass’n, 1999 WL 197212, *2-*3 (2d Cir. March 26, 1999)(dismissing action

against school district that did not rehire plaintiff as teacher, in part due to district’s understanding

that plaintiff was not interested in teaching in elementary school); Diebel v. L& H Resources, 2010

WL 11519578, *10-*11 (E.D. Mich. Feb. 17, 2010)(employer did not rehire plaintiff in part

because it understood that plaintiff wanted to retire rather than work). 22

         What is more, there is no evidence of discriminatory comments by any person, much less

from the Executive Director (the decision maker), which would taint the layoff and rehiring

processes here. He testified that he did not take into account Hoffman’s or Martínez’ age, and that

he works well with people of all ages, including those over 45 -who comprised the majority of the

Hospital’s staff- and even in the 70’s (Trial Transcript, April 12, 2017, p. 131). All in all, the

evidence is not sufficiently probative to allow a reasonable factfinder to conclude that the Hospital




22 As part of the Hospital’s non-discrimination policy, the Hospital’s Associate Manual states in part that the Hospital does not
discriminate against any candidate for employment due to physical and mental impediment, and for that reason, in recruiting for a
vacancy the Hospital is guided by the candidate’s skills and capacity according to the position (Appendix C). On its face, the
statement seems linked to impairments rather than to other characteristics such as age. At any rate, Hoffman was never a candidate
(the Executive Director was under the impression that he was not available), but assuming otherwise, as described above the
Executive Director explained the non-discriminatory grounds leading him to hire Martínez instead of Hoffman for the Safety
Officer position in light of Hoffman’s and Martínez’ background, considering the position’s level of authority, duties and
compensation. To that extent, he acted in conformity with the Manual. See, Mesnick v. General Electric Company, 950 F.2d 816,
825 (1st Cir. 1991)(“Courts may not sit as super personnel departments, assessing the merits –or even the rationality- of employer’s
nondiscriminatory business decisions”).
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intentionally discriminated against Hoffman because of his age in violation of the ADEA.

Therefore, the ADEA claim must be DISMISSED.

         ii. Law 80/Law 100

         The record shows just cause for the termination of Hoffman’s employment in both the

layoff and the potential rehire stages arising out of the downsizing. First, the Physical Plant

Department’s closing qualifies as just cause under Law 80. See, De la Garza Blizzard v. Sociedad

Española de Auxilio Mutuo y Beneficiencia de Puerto Rico, 787 F.Supp. 31, 34 (D.P.R.

1992)(discharge resulting from elimination of plaintiff’s position after hospital’s medical direction

section’s ceasing of operations considered justified, as one linked to the closing of an establishment

pursuant to Article 2 of Law 80, supra at § 185b(d)); J.L. Capó-Matos, supra at p. 960

(“Demonstrating the employee’s dismissal resulted from the closing of the establishment where

the worker was employed is sufficient to meet the ‘just cause’ requirement under the act. The

statute does not contemplate inquiry into the employee’s reasons for the closing”). 23

         Second, given that no retention or rehiring within Hoffman’s occupational classification

occurred, the Hospital did not have to follow Law 80’s preferential treatment rules in rehiring

Martínez instead of Hoffman as Safety Officer. 24 See, Lizardi v. JC Penney Puerto Rico, 2015

WL 3795031, *1-*2, *5-*6 (Puerto Rico Court of Appeals April 30, 2015)(dismissing claim of


23Even still, as expressed earlier, the Hospital closed the department to promptly cure deficiencies and to ensure future compliance
with CMS’ and the Joint Commission’s standards to avoid adverse financial consequences. These reasons are not arbitrary. They
are directly related to the Hospital’s business operation. Hence, they are sufficient to independently establish just cause for the
discharge. See, Echevarría, 856 F.3d at 140-141 (finding just cause under Law 80 because reasons for termination were not
arbitrary and bore some relationship to the employer’s business operation).
24 Had Hoffman and Martínez occupied positions within the same occupational classification and Martínez -the less senior
employee- had been recalled or rehired to occupy a position in the same classification, on the record as developed here the
transaction would not qualify as just cause under Law 80.
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employee discharged during reduction in force resulting from reorganization of operations, as her

position was eliminated and employer did not violate Law 80’s preferential treatment rules);

Colón-Cintrón v. Koper Furniture, Inc., 2014 WL 1715176, *1-*2, *8-*9 (Puerto Rico Court of

Appeals March 31, 2014)(permanent closing of company’s merchandise delivery operations

justified discharge of plaintiff’s delivery driver’s job under Law 80; as the defendant did not

contract or rehire employees within that occupational classification but rather subcontracted those

services to a different company, it did not have the obligation to retain plaintiff on the job). 25

         On these facts, the Hospital acted with just cause within the meaning of the statute.

Hoffman did not rebut that showing. As a result, he cannot trigger a presumption of discrimination

under Law 100. See, De la Garza Blizzard, 787 F.Supp. at 34 (inasmuch as just cause existed for

termination under Law 80, plaintiff failed to activate presumption of discrimination under Law

100). In addition, as discussed above in the context of the ADEA, taking into account the

uncontroverted character of the decisionmaker’s legitimate, nondiscriminatory reasons for closing

the department and not hiring Hoffman as Safety Officer together with the absence of age animus,

Hoffman has not satisfied the burden of proof on the ultimate issue of discrimination.

Consequently, the Law 80 and Law 100 claims must be DISMISSED.




25In denying the Hospital’s motion for summary judgment, the court recognized that a department’s closing is considered just
cause for discharge under Puerto Rico law, but that it was unclear whether age was treated neutrally. See, Docket No. 180 at p. 15
(analyzing Law 100 at summary judgment stage). The reference to the neutrality aspect is best viewed as a response to the lack of
evidence at that procedural juncture on the need to comply with Law 80’s preferential treatment provisions, assessed against the
background of the evidentiary gap referred to earlier. Be that as it may, as explained in the text, the record shows that all
components of the just cause element have been met.
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                                                   V.   CONCLUSION

          In view of the foregoing, the Hospital’s Rule 50(a) motion is GRANTED. An employee’s

personal beliefs, conjecture and speculation regarding the employer’s bias are insufficient to

support an inference of age discrimination. See, Snyder, 589 Fed. Appx. at 768-769, 771 (applying

principle in sustaining dismissal of discrimination claim brought against employer who did not

rehire a plaintiff let go during reduction in force). The evidence was insufficient to allow a

reasonable jury to conclude that Hoffman was unjustly discharged or discriminated against

because of his age. Therefore, the case is DISMISSED. Judgment shall be entered accordingly.

          SO ORDERED.

          In San Juan, Puerto Rico, this 31st day of January, 2018.

                                                            s/Pedro A. Delgado-Hernández
                                                            PEDRO A. DELGADO-HERNÁNDEZ
                                                            United States District Judge
